Case 1:23-cv-12077-WGY   Document 31-1   Filed 12/18/23   Page 1 of 9




                 Exhibit A
     Case 1:23-cv-12077-WGY         Document 31-1    Filed 12/18/23    Page 2 of 9



                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


__________________________________________
JOHN DOE,                                  )
                Plaintiff,                 )
                                           )
v.                                         )          Case No. 1:23-cv-12077-WGY
                                           )
UNIVERSITY OF MASSACHUSETTS,               )
TRUSTEES OF THE UNIVERSITY OF              )
MASSACHUSETTS, HANNAH MONBLEAU, )
in her official and individual capacities, )
KATE LEGEE, in her official and individual )
capacities, ESMERALDA LEVESQUE, a/k/a      )
ESMERALDA MENDEZ, in her official and      )
individual capacities, ADAM DUNBAR, in his )
official and individual capacities,        )
BRETT SOKOLOW,                             )
                Defendants.                )
__________________________________________)


                                 STIPULATED FACTS

      Plaintiff John Doe (“Doe”) and Defendants the University of Massachusetts, the

Trustees of the University of Massachusetts (with the University of Massachusetts, the

“University”), Hannah Monbleau, Kate Legee, Esmeralda Levesque, and Adam Dunbar

(Monbleau, Legee, Levesque, Dunbar, and the University, collectively, the “University

Defendants”) stipulate to the following facts.

      1.     Doe is a male Indian national in a Ph.D. program at the University of

Massachusetts Lowell. See Dkt. No. 1, Compl., ¶ 9; Dkt. No. 26, Answer, ¶ 9.

      2.     Defendant University of Massachusetts is a public institution of higher

learning established by the Commonwealth in Mass. Gen. Laws ch. 75, § 1 et seq. It

receives Federal funding for its education programs. Compl., ¶ 13; Answer, ¶ 13.
     Case 1:23-cv-12077-WGY         Document 31-1        Filed 12/18/23   Page 3 of 9

                                      Stipulated Facts


      3.       Defendant Trustees of the University of Massachusetts is the governing

board of the University of Massachusetts. Compl., ¶ 14; Answer, ¶ 14.

      4.       The University of Massachusetts has a campus in Lowell, Massachusetts

(“UMass Lowell”).

      5.       UMass Lowell has a Student Conduct Code. Ex. __.

      6.       UMass Lowell has a Sexual Harassment Grievance Procedure. Ex. __.

      7.       Defendant Hannah Monbleau was employed by UMass Lowell as its

Assistant Director of Student Life and Well-Being. Compl., ¶ 17; Answer, ¶ 17.

      8.       Defendant Kate Legee was employed by UMass Lowell as its Director of

Student Conduct and Prevention. Compl., ¶ 18; Answer, ¶ 18.

      9.       Defendant Adam Dunbar was employed by UMass Lowell as its Senior

Associate Director of Student Aﬀairs. Compl., ¶ 19; Answer, ¶ 19.

      10.      Defendant Esemeralda Levesque was employed by UMass Lowell as its

River Hawk Scholars Academy Coordinator. Compl., ¶ 20; Answer, ¶ 20.

      11.      Doe worked as a resident advisor (“RA”) in a dormitory on campus.

Compl., ¶ 9.

      12.      On Sunday, May 7, 2023, RAs J.T., C.T.Z., E.Z, and E.H. met with their

supervisor to report concerns about Doe. Compl., ¶ 60; Answer, ¶ 60; Ex. __,

Investigative Report, Appendix A.




                                        Page 2 of 8
        Case 1:23-cv-12077-WGY       Document 31-1        Filed 12/18/23   Page 4 of 9

                                       Stipulated Facts


         13.   C.T.Z., J.T., and E.H. made formal complaints against Doe. Exs. __ [emails

from C.T.Z., J.T., and E.H. to Ann Ciaraldi]. On May 19, 2023, Doe received letters from

both the Student Conduct Oﬃce and from a Deputy Title IX Coordinator. Compl., ¶ 61;

Answer, ¶ 61; Exs. __ [letters to Doe].

         14.   On May 19, 2023, Doe was suspended from his duties as resident advisor.

Ex. __ [letter to Doe].

         15.   On May 22, 2023, no-contact orders were put in place between Doe and

each of E.H., E.Z., J.T., and C.T.Z. Ex. __ [no-contact orders].

         16.   Monbleau was assigned to investigate the Doe case.

         17.   E.Z. did not participate in the investigation. Compl., ¶ 94; Answer, ¶ 94.

         18.   Monbleau interviewed E.H. on June 5, 2023. Compl., ¶ 95; Answer, ¶ 95.

         19.   On June 5, 2023, Monbleau asked E.H. if there were witnesses E.H. would

like Monbleau to interview. Ex.__, Investigative Report].

         20.   E.H. told Monbleau that she should interview S.K. as a witness. Ex.__,

Investigative Report

         21.   Monbleau interviewed C.T. and J.T. on June 6, 2023. Compl., ¶ 97; Answer,

¶ 97.

         22.   On June 5, 2023, Monbleau asked C.T. if there were witnesses C.T. would

like Monbleau to interview. Ex.__, Investigative Report].




                                          Page 3 of 8
     Case 1:23-cv-12077-WGY        Document 31-1        Filed 12/18/23   Page 5 of 9

                                     Stipulated Facts


       23.   C.T told Monbleau that she should interview S.K. and G.D. as witnesses.

Ex.__, Investigative Report.

       24.   On June 6, 2023, Monbleau contacted Doe to schedule an interview. Ex. __

[email to Doe].

       25.   Monbleau interviewed S.K. as a witness on June 14, 2023. Compl., ¶ 105;

Answer, ¶ 105. Ex.__, Investigative Report

       26.   The University issued a no-contact order between Doe and S.K. on June

20, 2023.

       27.   S.K. subsequently made a formal complaint against Doe. Ex. __ [email

from S.K. to Ann Ciaraldi].

       28.   Monbleau interviewed Doe on June 23, 2023. Compl., ¶ 117; Answer,

¶ 117; Investigative Report.

       29.   On June 23, 2023, Monbleau asked Doe if there were witnesses Doe would

like Monbleau to interview. Ex.__, Investigative Report].

       30.   Doe told Monbleau that she should interview A.M. as a witness. Ex.__,

Investigative Report.

       31.   On June 26, 2023, Monbleau asked Doe if there were witnesses he would

like her to interview or screenshots of messages he wanted to send her for inclusion in

the report. Ex. __ [email from Monbleau to Doe].




                                       Page 4 of 8
     Case 1:23-cv-12077-WGY            Document 31-1       Filed 12/18/23   Page 6 of 9

                                        Stipulated Facts


       32.    Doe sent Monbleau various screenshots of messages and extended

explanations of his interactions with the complainants, which Monbleau included in the

report. Ex.__, Investigative Report.

       33.    Monbleau interviewed G.D. as a witness on June 27, 2023. Compl., ¶ 111;

Answer, ¶ 111.

       34.    Monbleau interviewed A.M. as a witness on June 29, 2023. Ex.__,

Investigative Report.

       35.    Monbleau wrote to Doe on June 30, 2023 to request a second interview.

Compl., ¶ 126; Answer, ¶ 126; Ex. __ [email from Monbleau to Doe].

       36.    Monbleau interviewed Doe for a second time on July 5, 2023. Compl.,

¶ 130; Answer, ¶ 130; Investigative Report].

       37.    The University sent the Investigative Report, excluding its appendices, to

Doe on July 11, 2023. Ex. __. [Letter from M. Coughlin to Doe enclosing Investigation

Report].

       38.    In the Investigative Report, Monbleau recommended “to move this case,

per the Title IX Sexual Harassment Grievance Procedure, to a hearing panel for a charge

against [Mr. Doe] . . . [of] Sexual Misconduct.” Compl., ¶ 150; Answer, ¶ 150;

Investigative Report.

       39.    On July 12, 2023, Michael Coughlin, UMass Lowell’s Associate Director of

Student Rights & Responsibilities, notiﬁed Doe that his case would move to a “Title IX


                                          Page 5 of 8
     Case 1:23-cv-12077-WGY        Document 31-1       Filed 12/18/23   Page 7 of 9

                                    Stipulated Facts


hearing panel,“ scheduled for August 7, 2023, and that he “will need an advisor to

conduct cross-examination."

      40.    On July 13, 2023, the University notiﬁed Doe that his case would move to

a Hearing Panel scheduled for August 7, 2023. Ex. __ [Letter from M. Coughlin to Doe re

hearing panel].

      41.    On July 19, 2023, Doe notiﬁed the University that he is designating

Attorney Ilya Feoktistov as his “support person concerning this matter.” [Letters from

Doe to M. Coughlin]

      42.    The University sent the Investigative Report, including its appendices, to

Doe and Attorney Feoktistov on July 20, 2023. [Letter from M. Coughlin to Doe

enclosing Investigation Report].

      43.    On July 20, 2023, the University notiﬁed Doe and Attorney Feoktistov that

his case would move to a Hearing Panel under the “Student Conduct process,”

scheduled for August 22, 2023, and identiﬁed the members of the Hearing Panel. Ex. __

[Letter from M. Coughlin to Doe re hearing panel].

      44.    On July 28, 2023, the University notiﬁed Doe and Attorney Feoktistov of a

change in the composition of the Hearing Panel, which would consist of Legee, Dunbar,

and Levesque. Compl., ¶ 158; Answer, ¶ 158; Ex. __ [Letter from M. Coughlin to Doe re

hearing panel].




                                      Page 6 of 8
     Case 1:23-cv-12077-WGY           Document 31-1       Filed 12/18/23   Page 8 of 9

                                       Stipulated Facts


      45.    On July 30, 2023, Doe submitted a written response to the Investigative

Report. Ex __.

      46.    On August 9, 2023, Legee notiﬁed Doe and Attorney Feoktistov of the

individuals anticipated to attend the Hearing Panel. Ex. __ [Letter from K. Legee to Doe

re hearing panel].

      47.    On August 16, 2023, the University sent Doe and Attorney Feoktistov a

copy of his response to the Investigative Report and the investigator’s response to Doe.

Ex. __ [Letter from M. Coughlin enclosing investigator's response.].

      48.    On August 21, 2023, Attorney Feoktistov informed the University that Doe

will not be attending the Hearing Panel. Ex. __ [August Letter from Feoktistov to M.

Coughlin re decision not to attend].

      49.    The University convened a hearing panel on August 22, 2023 to determine

whether Doe was responsible for a violation of the Student Conduct Code. Ex. __ [Letter

from K. Legee to Doe enclosing hearing panel’s decision].

      50.    Doe did not attend the Hearing Panel. Ex. __ [Letter from K. Legee to Doe

enclosing hearing panel’s decision]

      51.    On September 7, 2023, the University notiﬁed Mr. Doe that the Hearing

Panel found him responsible for sexual misconduct. Compl., ¶ 164; Answer, ¶ 164.




                                         Page 7 of 8
     Case 1:23-cv-12077-WGY        Document 31-1          Filed 12/18/23   Page 9 of 9

                                       Stipulated Facts


      52.    The Hearing Panel issued a written decision setting forth its ﬁndings,

rationale, and the sanctions it imposed on Doe. Ex. __ [Letter from K. Legee to Doe

enclosing hearing panel’s decision].




                                         Page 8 of 8
